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11 Attorneys for Petitioner:

12
     ZHONGTIE DACHENG (ZHUHAI)
     INVESTMENT MANAGEMENT CO., LTD.
13

14                        UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16

17

18 ZHONGTIE DACHENG (ZHUHAI)            Case No.: 8:22-cv-461-KK-ADS
19 INVESTMENT MANAGEMENT
     CO., LTD., a China Company          NOTICE OF PETITION TO
20                                       CONFIRM/ENFORCE ARBITRAL
                                         AWARD AND FOR ENTRY OF
21              Petitioner,              JUDGMENT
22
     vs.
23                                       Date:       January 4, 2024
     YAN, JINGGANG, an individual,       Time:       9:30am
24                                       Before:     Hon. Kenly Kiya Kato
25              Respondent.
26

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 1 TO THE HONORABLE KENLY KIYA KATO, ALL PARTIES AND

 2 COUNSEL OF RECORD,

 3

 4                                NOTICE OF PETITION
 5        PLEASE TAKE NOTICE THAT on January 4, 2024 at 9:30 am, or as soon
 6 thereafter as the matter may be heard, Petitioner ZHONGTIE DACHENG (ZHUHAI)

 7 INVESTMENT MANAGEMENT CO., LTD., will move for an Order, pursuant to 9

 8 U.S.C. § 207 of the Federal Arbitration Act (the “FAA”) and Article III of the 1958
 9 Convention for the Recognition and Enforcement of Foreign Arbitral Awards (the

10 “New York Convention”), requesting that this Court (a) confirm and enforce the March

11 24, 2020, arbitration award (the “Award”) issued by the Beijing Arbitration

12 Commission; (b) issue a judgment in Petitioner’s favor against the Respondents as

13 provided    for in the Award; (c) award the Petitioner the costs of this
14 confirmation/enforcement proceeding; and (d) retain jurisdiction over this matter until

15 such time as the Respondents have fully complied with the Award (the “Petition”).

16        The Petition is made on the grounds that the Petition to recognize and enforce
17 the Award is timely and confirmation of the Award is governed by the New York

18 Convention, because the Award was issued by the Commission based in China, a

19 signatory to the New York Convention, and is an “arbitral award arising out of a legal

20 relationship . . . which is considered as commercial”. Petitioner further argues that the

21 Award is not subject to any of the enumerated grounds for the refusal to

22 recognize/confirm or enforce provided by Article V of the New York Convention.

23 Specifically, the respective articles of the loan and the guaranty agreements provide

24 Petitioner and the Respondents agreed to arbitration. The Commission served notice

25 on the Parties. Moreover, the Respondents did not file a motion with the Commission

26 to vacate/modify the Award.       Nothing in the laws of the United States prohibits
27 adjudicating the dispute between the Parties in arbitration. The Tribunal was composed

28 by and followed the Rules of the Commission. The Award is binding and has not been
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 1 set aside in China, or upon information and belief, in any other jurisdiction. The Award

 2 offends no public policy of the United States. Petitioner contends that the party

 3 opposing confirmation of an arbitral award under the New York Convention bears the

 4 burden of proving that such a ground for refusal exists. The Petition is based on this

 5 Notice of Petition, the preceding Petition and Memorandum of Points and Authorities

 6 in support of the Petition (DE Nos. 28 and 29), the Notice of Petition, the Reply

 7 Memorandum in Support of the Petition and the Proposed Order filed concurrently

 8 herewith, all pleadings currently on file with the Court, any matters which the Court
 9 may take judicial notice of, and any argument or evidence that may be presented by the

10 Court prior to its ruling.

11                                 RELIEF REQUESTED
12        In accordance with 9 U.S.C. § 207 of the FAA and Article III of the New York
13 Convention, Petitioner respectfully seeks (i) an order from this Court confirming and

14 enforcing the Award; (ii) a judgment in Petitioner’s favor against the Respondents as

15 provided for in the Award and including Petitioner’s costs incurred in this instant

16 proceeding; and (iii) that this Court retain jurisdiction over this matter until such time

17 as the Respondents have fully complied with the Award.

18

19 Dated: December 18, 2023
                                           Respectfully submitted,
20                                         DGW Kramer LLP
21                                   By:   /s/ RongPing Wu
                                           RongPing Wu, Esq.
22
                                           Attorneys for Petitioner:
23                                         ZHONGTIE DACHENG (ZHUHAI)
                                           INVESTMENT MANAGEMENT CO., LTD.
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